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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 16-62567-CIV-ZLOCH


  PATRICK GENTLES,

             Plaintiff,                     FINAL ORDER OF DISMISSAL

  vs.

  GENERAL REVENUE CORPORATION,

             Defendant.
                                      /
        THIS MATTER is before the Court upon the Joint Stipulation Of
  Voluntary Dismissal With Prejudice (DE 20) filed herein by both
  Parties.    The Court has carefully reviewed said Stipulation, the
  entire court file and is otherwise fully advised in the premises.
        Accordingly, after due consideration, it is
        ORDERED AND ADJUDGED as follows:
        1. The Parties’ Joint Stipulation Of Voluntary Dismissal With
  Prejudice (DE 20) be and the same is hereby approved, adopted, and
  ratified by the Court;
        2. The above-styled cause be and the same is hereby DISMISSED
  with prejudice, each party to bear their respective attorneys’ fees
  and costs; and
        3. To the extent not otherwise disposed of herein, all pending
  motions are hereby DENIED as moot.
        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward
  County, Florida, this        24th       day of July, 2017.



                                      WILLIAM J. ZLOCH
                                      Sr. United States District Judge

  Copies furnished:
  All Counsel of Record
